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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                                                 PLAINTIFF

V.                         CASE NO. 4:17-cr-00293-BSM-45

MARCUS MILLSAP                                                        DEFENDANT

              DEFENDANT’S MOTION FOR RELEASE OF
          SEALED TRANSCRIPT OF 1/7/21 PRETRIAL HEARING

      COMES NOW the Appellant Marcus Millsap by and through his attorney

Michael Kiel Kaiser of the Lassiter & Cassinelli Firm, and for his motion, states:

      Millsap appealed the judgment of this Court entered on May 26, 2023, and

his appeal has been docketed as case number 23-2396 in the United States Court of

Appeals for the Eighth Circuit.

      Appellate counsel has requested transcripts of all relevant proceedings.

Court Reporter Suzanne McKennon has informed appellate counsel that she needs

a court order to prepare and release transcripts of the sealed pretrial hearing in the

above case from January 7, 2021.

      WHEREFORE, the Appellant Marcus Millsap respectfully requests that this

Court grant his motion and authorize Ms. McKennon to prepare a transcript of the

January 7, 2021 hearing and share that transcript with appellate counsel once

completed.
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                                 Respectfully submitted,

                                 Michael Kiel Kaiser
                                 MICHAEL KIEL KAISER (AR2015001)
                                 Attorney for Defendant
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                                 1218 W 6th Street
                                 Little Rock, AR 72201
                                 (501) 370-9300
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                          CERTIFICATE OF SERVICE

        I hereby certify that on July 21, 23, I electronically filed the foregoing with
the Clerk of Court using the CM/ECF system, which shall send notification of such
filing to AUSA Stephanie Mazzanti.

                                 Michael Kiel Kaiser
                                 MICHAEL KIEL KAISER (AR2015001)




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